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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

   UNITED STATES OF AMERICA                                  '
                                                             '
   vs.                                                       '               CRIMINAL NO.
                                                             '               3:07-CR-289-M (13 and 14)
   KEVIN J. DEAN (13) and JOHN J.                            '
   LEWIS (14)                                                '
                                                             '
                                                             '


                            MEMORANDUM OPINION AND ORDER

            Before the Court are separate Motions to Sever by Defendants Kevin J. Dean and

   John J. Lewis. The Motions require the Court to address two related issues: (1) whether

   joinder is proper under Fed. R. Crim. P. 8(b); and (2) whether, assuming joinder under

   Rule 8(b) is proper, consolidation would result in compelling prejudice to either Dean or

   Lewis, warranting severance under Fed. R. Crim. P. 14(a).

            The Court determines that Dean and Lewis’s alleged acts, and the acts alleged in

   Counts Ten and Fifteen, reveal the existence of an overarching affordable housing

   scheme. Interconnected in time, place, manner, and membership, the factual predicates of

   Counts Ten and Fifteen were part of a single series of transactions, permitting their joint

   trial under Rule 8(b).1

            The Court reserves until the deadline to be set for all Defendants seeking

   severance to file appropriate motions, a determination of whether Counts Ten and

   Fifteen, forming a single trial unit, are sufficiently related to Counts One through Nine

   and Counts Twenty-One through Twenty-Five. The Court notes that these Counts


   1
     Joinder of counts subsidiary to Counts Ten and Fifteen is proper because these rely on the same series of
   transactions as underlie the conspiracy counts.


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   collectively name only three Defendants -- Brian L. Potashnik, Cheryl L. Potashnik, and

   Gladys E. Hodge. The Court similarly reserves a determination of whether joint trial of

   Count Eighteen and Counts Ten and Fifteen is proper.2 Accordingly, Dean and Lewis's

   Motions are DENIED, although the Court reserves the issues referenced above. This

   Order is without prejudice to any Defendants other than Dean, Lewis, and Rickey E.

   Robertson urging severance of Counts Ten and Fifteen by the specified deadline.

                                         FACTUAL BACKGROUND

              The Indictment names Dean in two counts: Count Fifteen (Conspiracy to Commit

   Extortion) and Count Twenty (Conspiracy to Commit Money Laundering). Lewis is

   named in those same two counts, as well as Count Seventeen (Extortion by Public

   Officials and Aiding and Abetting). In addition to Counts Fifteen and Twenty, the

   Indictment includes four other conspiracy counts: Counts One, Ten, Eighteen, and

   Nineteen. This Rule 8(b) analysis focuses on the relationship among the activities alleged

   in Counts Ten and Fifteen. Only for the sake of the joinder issues, the Court presumes as

   true the factual allegations contained in the Indictment.3

                                                     Count Ten

              Count Ten charges eight Defendants, Sheila D. Farrington, Brian L. Potashnik,

   Cheryl L. Potashnik, Donald W. Hill, D’Angelo Lee, Rickey E. Robertson, Andrea L.

   Spencer, and Ronald W. Slovacek with Conspiracy to Commit Bribery Concerning a

   Local Government Receiving Federal Benefits. This Count charges that, simultaneously

   with their pursuit of bribes from an unnamed developer (“Developer”), Hill, a former

   member of the Dallas City Council (“DCC”) and Lee, a former member of the Dallas


   2
       The Court also reserves for determination whether joinder of the tax evasion counts is proper.
   3
       See U.S. v. Lane, 474 U.S. 438, 447 (1986).


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   City Planning Commission (“DCPC”), sought bribes from Brian and Cheryl Potashnik,

   owners of Southwest Housing Development Company, Inc. (“SWH”), in exchange for

   Hill and Lee’s approving SWH’s Arbor Woods development and two affordable housing

   tax credit projects in District 5, Rosemont at Laureland and Rosemont at Scyene. The

   latter two projects, which are the focal point of Count Ten, were in direct competition

   with Developer’s two projects in District 5, Dallas West Village and Memorial Park

   Townhomes. Exploiting this competitive situation, Hill and Lee allegedly auctioned their

   votes to the highest bidding developer, accepting bribes from SWH in exchange for

   guaranteeing approval of its projects.

          Hill and Lee allegedly funneled bribe payments from SWH through a nominee

   company, Farrington & Associates, established by Sheila Farrington, who is now Hill’s

   wife. The Indictment alleges that Farrington & Associates created sham invoices for

   consulting services it allegedly provided to SWH. The Indictment also charges that Hill

   and Lee demanded that SWH enter into contracts at inflated rates with two other entities,

   Article IV Development (“Article IV”) and Lynnea Consulting Group (“LCG”), on its

   Arbor Woods, Rosemont at Laureland, and Rosemont at Scyene projects. Spencer was a

   principal of Article IV and LCG. These contracts were allegedly used to conceal bribes

   from SWH to Hill, Lee, and Spencer.

          The Indictment also alleges that Hill and Lee demanded that SWH contract with

   Robertson and a sham entity created by Slovacek, RON-SLO, Inc. (“RON-SLO”), on

   Arbor Woods, in exchange for Hill and Lee’s approval of SWH’s affordable housing tax

   credit projects. Hill and Lee allegedly insisted on SWH’s insertion into its bid proposals

   of “sham deed restrictions” requiring levels of minority participation above those




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   mandated under law.4 These restrictions were allegedly used to legitimize SWH’s use of

   Hill and Lee’s associates as sub-contractors. Slovacek and Robertson allegedly

   compensated Hill and Lee for pressuring SWH to contract with RON-SLO, by making

   payments to Farrington & Associates.

                                                Count Fifteen

            Count Fifteen charges ten Defendants, Kevin J. Dean, John J. Lewis, Darren L.

   Reagan, Allen J. McGill, Jibreel A. Rashad, Hill, Lee, Robertson, Spencer, and Slovacek

   with Conspiracy to Commit Extortion. Count Fifteen alleges that Hill and Lee

   conditioned their approval of affordable housing tax credit projects5 for Developer—

   principally for Dallas West Village and Memorial Park Townhomes in District 5, and the

   Homes of Pecan Grove in District 8—on Developer’s payment of bribes and use of Hill

   and Lee’s associates as sub-contractors. The Indictment alleges that Hill and Lee would

   either postpone consideration, or urge the DCC or DCPC’s rejection, of Developer’s

   applications for zoning changes, 4% tax credits, and Texas Department of Housing and

   Community Affairs (“TDHCA”) tax-exempt bonds on the Dallas West Village, Memorial

   Park, and Pecan Grove projects, until Developer complied with their demands.

            The Indictment alleges that Hill and Lee relied on a network of their associates to

   carry out their scheme. According to the Indictment, Hill and Lee insisted that Developer

   enter into sham contracts with front companies created by these associates as a means of

   concealing paper trails of bribes transmitted to Hill and Lee by rival developers. Count



   4
     The Texas Department of Housing and Community Affairs requires developers to include with their
   applications for 4% tax credits a certification that they will attempt to ensure that minority-owned
   businesses, also known as historically underutilized businesses, receive at least thirty percent of their
   construction sub-contracts.
   5
     Count Fifteen also briefly mentions Developer’s zoning change application for its project, Providence at
   Village Fair, in District 4.


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   Fifteen alleges, for example, that Hill and Lee insisted that Developer enter into a

   consulting contract with two sham minority organizations, the Black State Employees

   Association of Texas (“BSEAT”) and the BSEAT Community Development Corporation

   (“BSEAT CDC”), of which Reagan was chairman and chief executive officer and McGill

   was president and vice chairman. Hill and Lee allegedly demanded that Developer insert

   "sham deed restrictions” into his bid proposals, which required that at least 40% of the

   contracts on his projects go to Historically Underutilized Businesses (“HUBs”).

          The Indictment also alleges that Rashad, Robertson, and Lee, who served as

   principals of Rashad-Millennium LLC (“RA-MILL”), and Spencer, who served as RA-

   MILL’s business manager, insisted that Developer use RA-MILL as a contractor on the

   Homes of Pecan Grove and Dallas West Village projects. Reagan allegedly served as a

   liaison between RA-MILL, Hill, and Developer, updating Hill on Developer’s

   compliance with demands made by Hill and RA-MILL.

          Hill and RA-MILL also allegedly demanded that Developer use certain sub-

   contractors, such as Slovacek, on the Homes of Pecan Grove and Dallas West Village

   projects. After Developer allegedly refused to do so, Hill conditioned his approval of the

   zoning change application for Dallas West Village on Developer’s contracting with Dean

   through KDAT, of which Dean was founder and principal. Hill and Dean allegedly

   agreed to use KDAT as the principal front through which to funnel bribes from

   Developer to Hill on five affordable housing projects. After Hill and Dean demanded

   that Developer contract with KDAT, Lewis, who was Dean’s attorney, entered into an

   Attorney and Consultation Contract with Developer, which required Developer to pay

   Lewis’s firm $50,000 for each of Developer’s five projects, for a total of $250,000. The




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   Indictment charges that the Attorney and Consultation Contract was merely a sham to

   conceal these bribes.

            Dean and Lewis’s overt acts, detailed above, also form the factual predicate for

   the remaining conspiracy counts against them. The two other counts against Lewis—

   Count Seventeen, alleging Extortion by Public Officials and Aiding and Abetting, and

   Count Twenty, alleging Conspiracy to Commit Money Laundering—are premised on

   Lewis’s collaboration with Dean and Developer on the Attorney and Consultation

   Contract. Similarly, the remaining count against Dean—Count Twenty, alleging

   Conspiracy to Commit Money Laundering, relies on Dean’s extortion of Developer

   through KDAT.

                                                 ANALYSIS

                               Whether joinder is proper under Rule 8(b)

            Under Federal Rule of Criminal Procedure 8(b), which governs the joinder of

   counts and defendants in an indictment, joinder of multiple defendants is proper when

   they are alleged to have participated in the same act or transaction or in the same series of

   acts or transactions constituting an offense or offenses.6 The Fifth Circuit has adopted a

   flexible interpretation of “transaction”: even non-contemporaneous acts may form a

   single transaction if they are logically connected.7 The Government may establish that

   several conspiracies are logically connected by demonstrating a common plan, scheme,

   or purpose.8 The following considerations inform this determination: (1) whether there is

   a substantial identity of members in the schemes, particularly the involvement of a



   6
     Fed. R. Crim. P. 8(b).
   7
     United States v. Park, 531 F.2d 754, 761 (5th Cir. 1976).
   8
     Lane, 735 F.2d at 805; United States v. Elam, 678 F.2d 1234, 1246 (5th Cir. 1982).


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   common “key man”; 9 (2) whether participants in each scheme are aware of each other’s

   existence and roles;10 (3) whether the schemes reveal a common mode of operation;11 (4)

   whether the schemes are contemporaneous; and (5) whether the activities of one scheme

   are “necessary or advantageous” to the “overall success of the venture.”12 Significantly,

   the form of the indictment, including the allegation of separate conspiracies, is not

   determinative of whether a common plan or scheme exists.13

            The controlling question here is whether the acts underlying Counts Ten and

   Fifteen reflect a common plan and, therefore, were part of the same series of transactions

   under Rule 8(b). Dean and Lewis’s principal contention is that no overarching objective

   unifies these Counts, which allege separate schemes rather than a single, overarching

   conspiracy. Further, Defendants maintain that Count Fifteen alleges two separate

   conspiracies. The Court disagrees with both contentions.

            The Court first addresses Defendants’ argument that Count Fifteen alleges, in

   fact, two separate conspiracies. Defendants maintain that the absence of references to

   Dean and Lewis in Count Fifteen prior to Overt Act 141 demonstrates the existence of

   separate schemes. This argument is unpersuasive for two principal reasons. First, Dean

   and Lewis’s alleged extortion of Developer in connection with the Dallas West Village

   Project was contemporaneous with the other activities underlying Count Fifteen. Dean

   and Lewis’s alleged overt acts commence on February 9, 2005, and conclude on June 10,

   9
     Id.
   10
      Id.
   11
      See United States v. Andrews, 765 F.2d 1491, 1496-97 (11th Cir. 1985) (“Repetition of the same mode of
   operation may also provide a strong indication of a larger scheme behind numerous individual offenses.”);
   United States v. Scruschy, 237 F.R.D. 464, 469-70 (M.D. Ala. 2006) (finding proper joinder where
   defendants charged in different counts with conspiring with elected official to commit deprivation of honest
   services, because they (a) conspired with the main actor, the elected official, and (b) shared a common
   objective to deprive the State of Alabama of the honest services of the governor).
   12
      Elam, 678 F.2d at 1246.
   13
      United States v. Harrelson, 754 F.2d 1153, 1176 (5th Cir. 1985).


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   2005. During that same period, Reagan was attempting to persuade Developer to execute

   an allegedly sham consulting contract with BSEAT CDC, which would have required

   Developer to use Hill and Lee’s other associates as sub-contractors on the same Dallas

   West Village Project. Second, the substitution of Dean and Lewis for others of Hill and

   Lee’s allegedly favored confederates does not establish a distinct scheme. Indeed, the

   conspiracy’s alleged twin objectives remained unchanged: (1) to extract bribes from their

   associates—whether from Dean and Lewis or from their other confederates—in exchange

   for Hill and Lee’s guaranteeing those associates contracts with Developer on the Dallas

   West Village Project; and (2) to use nominee entities—whether KDAT or BSEAT—to

   conceal bribe payments on this project. Hence, the Court concludes that the overt acts

   alleged under the sub-part Extortionate Demands Made through KDAT, and under the

   other sub-parts of Count Fifteen, emanate from a common scheme or plan and, therefore,

   constitute a single conspiracy.

          The Court also rejects Defendants’ contention that the acts underlying Counts Ten

   and Fifteen were not linked by a common scheme or plan. First, the logical

   interdependence of the schemes charged in Count Ten and Count Fifteen supports their

   classification as a single conspiracy. Each venture’s success was intimately bound up

   with the other’s. To extract the greatest possible bribes from both developers,

   simultaneous execution of both schemes was essential. A Texas law barring the award of

   4% tax credits to any development that (1) was within one mile of another development,

   (2) served the same household type, and (3) had received a tax credit allocation in the

   previous three years, heightened the competition between Developer and SWH. By

   allegedly playing each developer against the other, and exploiting Developer and SWH’s




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   competition for approval of affordable housing tax credits in District 5, Hill and Lee

   would be able to maximize payments from each. In fact, the Dallas City Council

   considered Developer and SWH’s projects on the same day, October 27, 2004.14 After

   SWH allegedly offered a substantial bribe to Hill, Hill moved on October 27, 2004 to

   deny resolutions supporting tax-exempt bonds and 4% tax credits for Developer’s two

   projects, Dallas West Village and Memorial Park Townhomes. Hence, the simultaneous

   solicitation of bribes from SWH and Developer, while the DCC and DCPC were

   considering both developers’ projects, enabled Hill and Lee effectively to auction their

   votes to the highest bidder, and thereby realize the largest possible payments from both.

   Thus, joint implementation of the schemes was necessary to achieve the overarching

   conspiracy’s alleged larger objective —maximizing bribe receipts.

               Joint implementation of the schemes alleged in Counts Ten and Fifteen created

   competitive pressures not only between SWH and Developer but also among Hill and

   Lee’s associates, who vied for construction sub-contracts. These competitive pressures

   similarly advanced Hill and Lee’s overarching objective of obtaining the maximum

   payments from their confederates. Because these confederates could not determine in

   advance which developer would offer the prevailing bribe, they were forced to solicit

   contracts from both developers. For example, Reagan, uncertain of which developer

   would emerge victorious, allegedly solicited sub-contracts from both Developer and

   SWH. In this way, by strategically accepting bribes from both Developer and SWH,

   rather than committing to support either in advance, Lee and Hill injected uncertainty,

   forcing their confederates to pay precautionary bribes to them.



   14
        See Indict., Intro. ¶ 31.


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               Hill and Lee also allegedly capitalized on another competitive dynamic created by

    the joint implementation of both schemes. Their confederates were uncertain about not

    only which developer would prevail, but also about which associates would ultimately

    receive Hill and Lee’s support. Sub-contractors offering the most generous bribes would

    be most likely to do so. Indeed, Reagan allegedly instructed McGill that all sub-

    contractors wishing to secure contracts on the Dallas West Village project were “gonna

    have to contribute to the kitty.”15 By allegedly exploiting these competitive pressures,

    Hill and Lee were able to obtain greater bribes from their confederates. Finally, by

    allegedly soliciting both Developer and SWH for bribes, Hill and Lee increased the total

    number of sub-contracts available “for sale” to their associates, thereby maximizing bribe

    payments. Thus, the interrelatedness of the two bribery schemes, each of which were

    “advantageous to . . . the overall success of the venture,” supports their classification as a

    single conspiracy.

               Second, the common mode of operation underlying the two schemes supports

    joinder. As the Eleventh Circuit stated in United States v. Andrews, “Repetition of the

    same mode of operation may also provide a strong indication of a larger scheme behind

    numerous individual offenses.”16 Here, in both endeavors, Hill and Lee allegedly

    conditioned approval of developers’ affordable housing tax credit applications on their

    paying bribes and using favored sub-contractors. Further, Hill and Lee allegedly

    employed the same tactics, alternately postponing consideration, rejecting, or approving

    applications, to maximize the pressure on developers during bribery negotiations.

    Further, both ventures allegedly employed the same method—sham consulting contracts


    15
         See Indict., Count Fifteen, Extortionate Demands Made through BSEAT CDC and RA-MILL, ¶ 98.
    16
         765 F.2d at 1496-97.


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    with shell companies created by Hill and Lee’s associates—to conceal bribe payments.

    Specious deed restrictions, requiring minority participation above legally mandated

    levels, were also allegedly used in both schemes to legitimize the selection of Hill and

    Lee’s confederates.

               Third, the overlapping membership of the activities charged in Counts Ten and

    Fifteen warrants joinder. A majority of the Defendants named in Count Ten are also

    named in Count Fifteen. This “substantial identity” of participants supports classification

    of the two Counts as a single conspiracy.17 Moreover, Hill and Lee are alleged to have

    relied on the same cadre of associates to obtain bribes from SWH and Developer, as

    reflected in Counts Ten and Fifteen. Every associate involved in the events described in

    Count Ten, excluding the Potashniks and Farrington, also allegedly participated in the

    events in Count Fifteen. A mere personnel change—the use of Farrington in the Count

    Ten events, and then Reagan, in the Count Fifteen events, to conceal bribes—does not

    establish separate conspiracies. As the Fifth Circuit observed in United States v. Elam, “a

    common plan is not transformed into several plans on account of internal personnel

    changes.”18 This is especially true when a conspirator and his replacement perform

    identical functions in both schemes. Here, Farrington & Associates and Reagan’s

    nominee entity, BSEAT, assumed similar roles, allegedly operating as sham consulting

    companies to conceal bribes to Hill and Lee.

               Hill and Lee not only relied on a similar cadre of confederates but also themselves

    allegedly assumed the same leadership roles in both ventures. As the Fifth Circuit stated

    in Elam, two schemes are more likely to constitute a single conspiracy when a “‘key


    17
         United States v. Dennis, 645 F.2d 517, 520 (5th Cir. Unit B 1981).
    18
         678 F.2d at 1246.


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    man’ was involved and directed illegal activities, while various combinations of other

    defendants exerted individual efforts towards a common goal.”19 Here, Hill and Lee

    allegedly spearheaded all of the alleged actions in both conspiracies, manipulating the

    levers of power to extract bribes from two developers. As political gatekeepers for

    affordable housing projects, they are alleged to have alternately postponed consideration,

    rejected, or approved Developer and SWH’s tax credit applications in order to enrich

    themselves and their associates.

               Fourth, the alleged participants’ mutual awareness of their participation in the two

    schemes supports finding a single conspiracy. In Elam, the court emphasized that two or

    more criminal endeavors are especially likely to constitute one conspiracy when

    “members of one enterprise have knowledge, actual or implied, of the existence of

    members of a related enterprise.”20 Participants’ mastery of the details of the alleged

    schemes is not required to find a single conspiracy: their knowledge of the plans’ general

    contours is sufficient. As the Fifth Circuit stated in Elam, “We do not imply that the

    various members of a conspiracy which functions through a division of labor must have

    an awareness of the existence of the other members, or be privy to the details of each

    aspect of the conspiracy.” Here, the allegations of the Indictment strongly suggest that

    the few confederates not named in both Counts Ten and Fifteen likely knew of each

    other’s existence and roles. For example, Reagan, named in Count Fifteen but not in

    Count Ten, was likely aware of Hill’s extortion of SWH, charged in Count Ten. The

    Indictment alleges that Reagan personally sent Brian Potashnik a contract proposal for

    Rosemont at Laureland and Rosemont at Scyene on October 14, 2004. Reagan’s


    19
         Id.
    20
         Id.


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    transmission of the proposal suggests knowledge that Hill had conditioned approval of

    SWH’s projects on the use of Reagan’s services. Indeed, eight days later, Hill allegedly

    accepted a bribe from Brian Potashnik and moved the DCC to approve resolutions

    supporting tax-exempt bonds and 4% tax credits for both Rosemont projects. These

    factual allegations support the inference that Reagan was aware of Hill’s efforts to obtain

    bribes from SWH, and had a substantial stake in their success.

            Reagan was not the only participant in the alleged extortion scheme likely aware

    of the simultaneous bribery venture with SWH. Rashad was also likely alerted to the

    SWH scheme through his business partners, Lee and Robertson. Lee and Robertson,

    named in Count Ten, both allegedly assumed significant roles in the SWH scheme and

    were co-principals with Rashad in RA-MILL. Given Lee and Robertson’s intimate

    involvement in the SWH bribery scheme, and their close business relationship with

    Rashad through RA-MILL, it may be inferred that Rashad was aware of their efforts to

    obtain sham contracts with SWH.21 Further, not only Hill and Lee’s confederates, but

    also the developers themselves, were apparently aware of the concurrent schemes, which

    allegedly attempted to play the developers off of each other to obtain the greatest

    payments. Finally, Farrington allegedly had a professional, as well as a romantic,

    relationship with Hill, the venture’s alleged ringleader, and her participation in one set of

    events designed to conceal bribes to Hill supports an inference that he made her aware of

    other similar efforts. Thus, joinder is supported by the fact that the Defendants named in




    21
      See Elam, 678 F.2d at 1246 (finding a single conspiracy where the overlapping nature of the various roles
    of the participants and the nature of the alleged activities is “such that knowledge on the part of one
    member concerning the existence and function of other members of the same scheme is necessarily
    implied”).


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    Count Ten are alleged to have either directly participated in, or at least had implied

    knowledge of, the simultaneous scheme to extort money from Developer.

               Fifth, the temporal proximity of the activities alleged in Counts Ten and Fifteen

    supports joinder. The Indictment alleges that the activities in Counts Ten and Fifteen

    allegedly began at least in August 2004 and ran until June 2005. Further, the DCC’s

    consideration of Developer and SWH’s competing affordable housing applications in

    District 5 occurred on the same day, October 27, 2004.22

               Defendants analogize this case to United States v. Nettles, in which the Fifth

    Circuit denied joinder. In Nettles, three police offers conspired to provide protection to

    two local gambling enterprises in exchange for bribes. The three officers separately

    approached the two enterprises, which were not related or affiliated in any way. Further,

    there was no evidence that either gambling enterprise was aware of the protection

    provided by the officers to the other. The Court denied joinder on two broad grounds.

    First, the schemes, undertaken separately, were not united by a common aim. Second,

    while the police struck similar deals with both enterprises, there was no logical

    interdependence between the schemes: “the connection between different groups is

    limited to a few individuals common to each but those individuals commit[ted] separate

    acts which involve them in separate offenses.”23 Implementation of one operation in no

    way contributed to the success of the other.

               Here, in contrast, joint pursuit of the extortion and bribery schemes, which

    heightened competition between the developers, as well as among Hill and Lee’s

    associates, allegedly enabled Hill, Lee, and the others to obtain the largest possible


    22
         See Indict., Intro. ¶ 31.
    23
         United States of America v. Nettles, 570 F.2d 547, 551 (5th Cir. 1978).


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    payments from the developers and Hill and Lee’s associates. In this way, Dean and

    Lewis’s alleged extortion of Developer, as described in Count Fifteen, was not tangential

    to the bribery scheme alleged in Count Ten, but rather contributed directly to that

    venture’s success. Further, in Nettles only three individuals participated in both

    conspiracies. Here, the confederates named in Count Ten, to whom Hill and Lee funneled

    sub-contracts from the developers, were also named in Count Fifteen, with the exception

    of Farrington. Further, even if Dean and Lewis did not participate in the scheme alleged

    in Count Ten, their relationship with Hill, the scheme’s ringleader, suggests that they

    were likely aware of that venture and its participants’ identities.

               Defendants’ citation of the district court’s decision in United States v. Lech is

    unavailing for similar reasons.24 There, the Court concluded that three bribery schemes

    did not constitute a single conspiracy and, therefore, joinder was improper. The Court

    specifically focused on two projects charged in the Indictment: bribery in connection with

    a construction project, and bribery of the New York City Board of Education to obtain an

    asbestos removal contract. The named conspirators in the charges underlying these two

    projects were identical, except that Defendant Lech was an additional participant in the

    asbestos scheme. Despite the two projects’ nearly identical membership, the Court found

    Lech’s apparent ignorance of the construction scheme dispositive, emphasizing that

    “Lech had very little, if any, knowledge of the other schemes, and did not participate in

    them.”25

               Here, in sharp contrast to Lech, the bribery and extortion schemes alleged in

    Counts Ten and Fifteen were logically connected, because of the intense competition


    24
         161 F.R.D. 255, 256 (S.D.N.Y. 1995).
    25
         Id. at 257.


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    between SWH and Developer for affordable housing tax credits in District 5. Hence,

    unlike Lech’s efforts, which solely advanced the asbestos removal scheme in which he

    was a named participant, Dean and Lewis’s activities assisted the scheme alleged in

    Count Fifteen and contributed to Hill and Lee’s success in obtaining bribes from SWH in

    Count Ten.

               Finally, United States v. Levine, also cited by Defendants, is inapposite to the

    instant case.26 There, a pornographic film producer, Harvard, spearheaded two separate

    schemes in violation of various obscenity laws. Four Defendants—Harvard, Abrams,

    Remy, and Pictograph—participated in the first scheme. Harvard and Abrams essentially

    agreed that the latter would finance, and the former would produce, a pornographic film,

    entitled “Valley of the Nymphs” (“Nymphs”). During the same time period, the second

    scheme unfolded. Harvard agreed to produce eighteen sexually explicit films for

    Defendant Levine. Levine did not know Abrams and was unaware of his agreement with

    Harvard or of the Nymphs movie. However, Nymphs and the eighteen movies produced

    for Levine employed some of the same actors and relied on the same processing

    laboratory and sound studios. The Court concluded that the two projects, which emanated

    from separate combinations involving different defendants and separate transactions, did

    not constitute a single conspiracy. Defendants’ attempt to analogize Levine to the instant

    case fails. Unlike in Levine, the criminal projects alleged in Counts Ten and Fifteen were

    logically related: joint pursuit of both was necessary to achieve the conspirators’

    overarching objectives.




    26
         546 F.2d 658 (5th Cir. 1977).


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             Therefore, Dean and Lewis’s alleged activities, which made them key participants

    in the larger affordable housing scheme charged in Counts Ten and Fifteen, warrant

    joinder under Rule 8(b).

                            Whether severance is warranted under Rule 14(a)

             If joinder is proper under Rule 8(b), a district court may, nonetheless, grant a

    motion to sever under limited circumstances under Fed. R. Crim. P. 14(a). Severance is

    warranted under Rule 14(a) when there is a serious risk that a joint trial would

    compromise a specific trial right of one of the defendants, or prevent the jury from

    making a reliable determination of guilt or innocence.27 To obtain a severance, the

    defendant must demonstrate specific and compelling prejudice.28 Because only “the most

    compelling prejudice against which the trial court will be unable to afford protection”

    warrants severance under Rule 14(a), motions to sever are rarely granted.29

             To support severance under Rule 14(a), Defendants offer several arguments. Dean

    specifically contends that the Government’s presentation of complex evidence on the

    other thirteen Defendants would “spill over,” tainting the jury’s assessment of his guilt.

    Lewis argues for severance on three grounds. First, joinder would unreasonably delay his

    trial, needlessly prolonging his pretrial anxiety and the imposition of pretrial release

    conditions. Second, delay would buy the Government time to “flip” additional witnesses,

    strengthening its case against Lewis. Third, joinder could impair the presentation of

    Lewis’s defense because some defense witnesses, including Comer Cottrell, who has

    deteriorating health, might become unavailable if Lewis’s trial is delayed. The Court

    addresses Dean and Lewis’s respective arguments in turn.

    27
       Zafiro v. United States, 506 U.S. 534, 539 (1993).
    28
       United States v. Krenning, 93 F.3d 1257, 1267 (5th Cir. 1996).
    29
       United States v. Perez, 489 F.2d 51, 65 (5th Cir. 1974).


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               Dean’s contention that joinder would prejudice his defense rests on a simple

    proposition: the Government’s presentation of complex evidence on the other thirteen

    defendants would “spill over,” causing the jury to convict him without carefully parsing

    the evidence. Dean acknowledges that the risk that evidence implicating other Defendants

    will taint him rarely constitutes prejudice. However, he insists that the complexity of the

    case, involving six separate conspiracies, is exceptional. However, the sole case cited by

    Dean, the Supreme Court’s decision in Zafiro v. United States, actually affirmed the

    appellate court’s denial of severance, noting in the process that “limiting instructions

    often will suffice to cure any risk of prejudice” from a joint trial. The Fifth Circuit’s

    reasoning in Levine, detailing the prophylactic measures available to avoid taint, is also

    fatal to Dean’s contention:

               Of course the possibility exists that evidence introduced to prove one
               count in an indictment will spill over and taint the case on another count.
               A jury might intertwine the evidence and thereby improperly lessen a
               defendant’s prospects of being acquitted as to a joint count. Submission of
               proper, limiting instructions to the jury, accompanied by a strict charge as
               to what testimony it may and may not consider, and the continuing
               obligation of a trial court to grant a severance under Rule 14 of the Federal
               Rules of Criminal Procedure if prejudice to any defendant appears, are
               considered to be adequate safeguards against these prospects.

    Thus, the risk that other conspirators’ guilt will taint the jury’s evaluation of Dean’s

    conduct does not establish compelling prejudice warranting severance under Rule 14(a).

               Lewis’s three asserted grounds for severance are also unpersuasive. Lewis’s first

    and second contentions are that United States v. Hall30 and United States v. Messer31

    identify unreasonable delay as grounds for severance under Rule 14(a). In Hall, a drug

    conspiracy case, one of the two defendants, Hall, repeatedly invoked his speedy trial


    30
         181 F.3d 1057 (9th Cir. 1999).
    31
         197 F.3d 330 (9th Cir. 1999).


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    rights, while the other, Nelson, repeatedly requested continuances. In granting these

    continuances, the district court did not fulfill its responsibility to determine their impact

    on Hall’s speedy trial rights. Further, only days before the trial, Nelson signed a plea

    deal, indicating his readiness to testify against Hall. In assessing the reasonableness of the

    delay, the court specifically examined whether the delay was necessary to achieve its

    purpose, and whether there was any actual prejudice suffered by the non-pleading

    Defendant. The Ninth Circuit concluded that Hall’s trial had been unreasonably delayed,

    because the Government’s motion was calculated to procure a critical, additional witness,

    thereby “impairing his [Hall’s] defense at trial.”

               Here, in contrast to Hall, the complexity of the case, rather than a plan to secure

    plea deals, apparently underlay the continuance of this case, which was pursued

    aggressively by most Defendants. Lewis does not identify witnesses who the Government

    hopes will “flip.” Moreover, unlike in Hall, the Court can always reconsider future

    Motions to Sever, particularly if the Government or other Defendants seek additional

    continuances.

               In Messer, a two-defendant money laundering case, the Ninth Circuit granted a

    first continuance because of the legal and factual complexity of the case.32 Over the next

    twenty-one months, the court granted four additional continuances. Although the Ninth

    Circuit found that the Defendants’ release during the twenty one-month interval

    diminished the prejudice, it found the delay was unreasonable. The Court focused

    particularly on the Defendants’ repeated invocation of their speedy trial rights and the

    “sheer length of the delay.”



    32
         197 F.3d at 334.


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            Here, trial is set for June 9, 2008, less than nine months after the filing of the

    Indictment (although it may be reset to the fall of 2008). This represents a shorter period

    than that involved in Messer. Additional continuances are unlikely. There is no evidence

    of an improper purpose associated with the requested continuance, including an effort to

    induce individuals to “flip.”

            Lewis’s final contention is that joinder could impair the presentation of his

    defense because some defense witnesses, including Comer Cottrell, whose health is

    declining, may become unavailable if Lewis’s trial is delayed. Although Lewis has

    offered no evidence regarding the imminence, severity, or likely effects of Mr. Cottrell’s

    health on his ability to testify, or any indication of the significant facts to be established

    by Mr. Cottrell’s testimony, the Government has confirmed it will not oppose Lewis’s

    deposing Mr. Cottrell now to preserve his testimony, mitigating any prejudice Mr.

    Cottrell’s absence at trial might cause.

            For the foregoing reasons, Lewis and Dean’s request for severance under Rule

    14(a) is untenable. Lewis and Dean’s Motions to Sever are thus DENIED.

            SO ORDERED.

            January 18, 2008.




                                               ________________________________
                                               BARBARA M.G. LYNN
                                               UNITED STATES DISTRICT JUDGE
                                               NORTHERN DISTRICT OF TEXAS




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